    Case 2:05-cv-04182-SRD-JCW Document 7720-2 Filed 09/18/07 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                         *              CIVIL ACTION
CONSOLIDATED LITIGATION
                                                     *              NO. 05-4182

PERTAINS TO:                                         *              SECTION “K” (2)
    Nevil, C.A. No. 06-7437
*   *      *      *      *            *      *       *

                                    MOTION TO DISMISS

       Plaintiffs CARLA F. NEVIL, wife of/and LARRY D. NEVIL, have resolved their

dispute with defendant METROPOLITAN PROPERTY AND CASUALTY INSURANCE

COMPANY ("METROPOLITAN"). As a result of this settlement, plaintiffs respectfully request

that all of their claims in this lawsuit against METROPOLITAN be dismissed, with prejudice

with each party to bear its own costs. All other claims against all other defendants are reserved.

       WHEREFORE, CARLA F. NEVIL, wife of/and LARRY D. NEVIL pray that their

claims in this lawsuit be dismissed against METROPOLITAN PROPERTY AND CASUALTY

INSURANCE COMPANY, with prejudice.

                                             Respectfully submitted,

                                             s/ Gary M. Pendergast
                                             GARY M. PENDERGAST
                                             Bar Roll No. 10420
                                             1515 Poydras Street, Suite 2260
                                             New Orleans, Louisiana 70112
                                             Telephone: (504) 523-0454
                                             Facsimile: (504) 523-0464
                                             E-Mail: GMPendergastLLC@aol.com

                                CERTIFICATE OF SERVICE

       I hereby certify that I have on this 18th day of September, 2007, served a copy of the
foregoing on all counsel of record via CM/ECF System Notice of Electronic Filing.

                                          s/ Gary M. Pendergast


                                                                                Nevil, Motion to Dismiss
